           Case 3:24-cr-02479-LS          Document 11       Filed 11/05/24      Page 1 of 2



                                      United States District Court
                                       Western District of Texas
                                           El Paso Division

 United States of America,
        Plaintiff,                                           Case No.: EP:24-M-03929-ATB

           v.

 Romannie Shrouder,
      Defendant.

                United States' Motion to Continue Preliminary and Detention Hearing

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and pursuant to 18 U.S.C. ' 3142(e) and (f), files this, its Motion to

continue, and for cause, would respectfully show unto the Court the following:

       1.          The Defendant was arrested on Friday, November 1, 2024, for a violation of Title

18, United States Code, Section 922(n), Receipt of Firearm by Person under Felony Indictment.

       2.          The United States filed an amended motion to detain without bond on November

5, 2024.

       3.          A Preliminary and Detention Hearing is currently set for 10:30 a.m. on Wednesday,

November 6, 2024.

       4.          The United States intends to present this case to the Grand Jury on the morning of

Wednesday, November 6, 2024.

       5.          If the Grand Jury returns an indictment against Defendant, that would eliminate the

need for a Preliminary Hearing.

       6.          The United States moves the Court to continue the Preliminary and Detention

Hearing until Thursday, November 7, 2024.

       7.          Defense counsel opposes this motion.
         Case 3:24-cr-02479-LS         Document 11       Filed 11/05/24      Page 2 of 2




       WHEREFORE, premises considered, the Government respectfully prays the Court to

continue the Preliminary and Detention Hearing currently set for Wednesday, November 6, 2024

to Thursday, November 7, 2024.

                                              Respectfully submitted,

                                              JAIME ESPARZA
                                              UNITED STATES ATTORNEY


                                      By:     _________________________________
                                              SHUHAO “SEAN” WANG
                                              Assistant U.S. Attorney
                                              New Mexico State Bar #149505
                                              700 E. San Antonio, Suite 200
                                              El Paso, Texas 79901
                                              (915) 534-6884




Certificate of Service
I certify the foregoing was served via email on the day of filing to opposing counsel at:

Shane McMahon
Shane_McMahon@fd.org


/s/ Sean Wang
Assistant U.S. Attorney




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